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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                           MACON and COLUMBUS DIVISIONS

UNITED STATES OF AMERICA

       v.                                             CASE NO. 5:21-CR-003-TES

ARMARDDAVIS



                             AMENDED SCHEDULING ORDER

       This matter is before the Court pursuant to the government's motion to (1) continue the

trial date and (2) extend deadlines in the Court's Scheduling Order at Docket Entry 166. The

motion is GRANTED.

       The indictment names eleven (11) defendants in one hundred and thirty-six (136) counts.

This case involves an investigation that began in mid-2019 and included controlled purchases of

cocaine and cocaine base, wiretap interceptions from five (5) phone lines, and a number of search

warrants of premises, and electronic devices. With the exception of Defendant Armard Davis, the

cases against the other defendants have been resolved.

       The charges in this case include cocaine and cocame base distribution conspiracy,

substantive counts of distribution and possession with intent to distribute cocaine and cocaine base,

conspiracy to participate in an animal fighting venture, as well as substantive counts of sponsoring

and exhibiting a dog in an animal fighting venture, and possession of animals for animal fighting

venture.

       On October 6, 2021, the Cami held a hearing regarding an ex parte motion to withdraw as

attorney. Doc. 322. Following the hearing, the Court granted the motion, and indicated that it
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would appoint another attorney to represent Defendant. Id. On October 18, 2021, Bruce S. Harvey

filed a notice of appearance to represent Defendant. Doc. 332.

        The discovery in this case is voluminous. The materials amount to over 690 gigabytes of

information including documents, photographs, audio and video recordings, and intercepted calls

and text messages from five separate phone lines. On October 21, 2021, the Government provided

discovery to counsel for Defendant. Doc. 333.

        The case is specially set for trial beginning on March 14, 2022. The corresponding delay

shall be deemed excludable pursuant to the provisions of the Speedy Trial Act, 18 U.S.C. § 3161,

specifically, 18 U.S.C. §§ 3161(h)(7)(A), 3161(h)(7)(B)(i), 3161 (h)(?)(B)(ii), and 3161 (h)(?)(B)(iv).

        The Court amends and supplements the Scheduling Order as follows:

 01/24/2022     Motions in limine due.

 02/11/2022     Proposed voir dire questions due. Counsel are reminded that copies of juror
                questionnaires are available in the Clerk's Office. It is the responsibility of each
                attorney to review these questionnaires prior to trial. Voir dire questions may not
                repeat material contained in the questionnaires.

 02/18/2022     Requests to Charge due; Proposed verdict form due; Motion in limine responses
                due; Voir dire objections due.
 02/24/2022     Final pretrial conference and motions hearing on all pending motions.

 03/11/2022     Counsel shall email a proposed exhibit list and a proposed witness list to the
                courtroom      deputy     with    a    copy      to    opposing      counsel      at
                Cheryl_Collins@gamd.uscourts.gov no later than NOON; Electronic evidence
                files should be provided to the courtroom deputy no later than NOON. Please
                review the Court website page regarding courtroom technology
                htt[l://www.gamd.uscourts.gov/technolog)1,      specifically   the     instructions
                concerning the Jury Evidence Recording System (JERS). All Jencks material
                including the grand jury testimony of witnesses who will be testifying at trial due.
                Failure to disclose being excused for good cause during trial.

 03/14/2022     Trial commences.
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        Except as modified in this Amended Scheduling Order, the standard pre-trial order remains

in effect.


        IT IS SO ORDERED, this f&ay of            t:Jt,{ , ,. ,2021.


                                                LF, lll
                                     UNITED STATES DISTRICT JUDGE
